Case 2:24-cv-14336-JEM Document 21 Entered on FLSD Docket 11/21/2024 Page 1 of 1




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   FT. PIERCE DIVISION

                        CASE NO. 24-14336-CIV-MARTINEZ/MAYNARD

  DANIEL PORTER, individually, and
  MARITIME RESEARCH & RECOVERY, LLC,

                         Plaintiffs,

                 v.

  CARL ALLEN, individually, and
  ALLEN EXPLORATION, LLC,

                    Defendants.
  ________________________________________/

                                               ORDER

         Upon consideration of Defendants’ motion, pursuant to 28 U.S.C. § 1404(a), to transfer

  this action to the United States District Court for the Northern District of Texas, Dallas Division

  (ECF No. 12), Plaintiffs’ response thereto (ECF No. 13) and Defendants’ reply (ECF No. 17), it

  is ORDERED that Defendants’ motion is GRANTED.

         It is further ORDERED that Plaintiffs’ “Verified Motion to Object to Attorney David

  Concannon’s Motion to Appear Pro Hac Vice or Alternatively, to Disqualify Him” (ECF No. 15)

  is DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this ___ day of ______, 2024.



                                                        ____________________________________
  Copies provided to:                                   JOSE E. MARTINEZ
  Magistrate Judge Maynard                              UNITED STATES DISTRICT JUDGE
  All Counsel of Record
